Case 1:17-cv-02673-JPH-TAB Document 47 Filed 12/20/18 Page 1 of 1 PageID #: 711



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 ESTATE OF ANDRE ALEXANDER GREEN                        )
 Deceased,                                              )
                                                        )
                               Plaintiff,               )
                                                        )
                          v.                            )      No. 1:17-cv-02673-JPH-TAB
                                                        )
 CITY OF INDIANAPOLIS Indiana and several               )
 unknown members of the Indianapolis                    )
 Metropolitan Police Department,                        )
 MARC KLONNE,                                           )
 ADAM MENGERINK,                                        )
 VINCENT STEWART,                                       )
                                                        )
                               Defendants.              )

       ORDER ON DECEMBER 20, 2018, TELEPHONIC STATUS CONFERENCE
        Parties appeared by counsel December 20, 2018, for a telephonic status conference.

 Discussion was held regarding Defendant’s motion to extend deadlines [Filing No. 43],

 settlement and related matters. Plaintiff shall fully respond to Defendant’s requests for

 production by December 27, 2018. Defendant’s motion to extend deadlines [Filing No. 43] is

 granted, and the deadline to complete expert and damages discovery is enlarged to January 31,

 2019, as is the deadline for Defendant to file its summary judgment reply brief.

        Dated: 12/20/2018


                                            _______________________________
                                        Tim A. Baker
                                        United States Magistrate Judge
                                        Southern District of Indiana



 All ECF-registered counsel of record via email.
